







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;

&nbsp;


 
  
  &nbsp;
  MARCOS MACIAS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
  &nbsp;
  v.
  &nbsp;
  THE STATE OF
  TEXAS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
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   '
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   '
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  &nbsp;' 
  &nbsp;
  
  
  &nbsp;
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-02-00094-CR
  &nbsp;
  Appeal from the
  &nbsp;
  County Court at Law No. 2
  &nbsp;
  of El Paso County, Texas 
  &nbsp;
  (TC# 990C07779)
  &nbsp;
  
 


&nbsp;

MEMORANDUM OPINION DISMISSING APPEAL

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Marcos Macias appealed from a
revocation of probation.&nbsp; This appeal is
a companion to his appeal from a conviction for a
second offense of driving while intoxicated, case number 08-02-00093-CR.&nbsp; The sole issue presented before this Court
was whether Macias was deprived of counsel and the opportunity to present a motion
for new trial.&nbsp; On June 12, 2003, this
Court abated the appeal, pursuant to an agreement by Macias and the State, for
the purposes of pursuing a motion for new trial.&nbsp; The court below granted the motion, and a
plea of guilty pursuant to a plea agreement was entered in open court.&nbsp; The issue originally presented on appeal
before this Court is now moot.&nbsp; The
appeal is therefore dismissed for want of jurisdiction.

&nbsp;

SUSAN
LARSEN, Justice

August 14, 2003

&nbsp;

Before Panel No. 3

Barajas, C.J., Larsen, and
Chew, JJ.

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(Do Not Publish)

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